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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
    In re:                          )      Chapter 11
                                    )
    FTX Trading Ltd., et al.,       )      Case No. 22-11068 (JTD)
                                    )
             Debtors.               )      (Jointly Administered)


                                                                           via CM/ECF and/or email
        NOTICE OF OBJECTION TO MOTION OF DEBTORS FOR ENTRY OF ORDERS


TO: (a) Proposed Counsel for the Debtors and Debtors-in-Possession, (b) Counsel for Official

Committee of Unsecured Creditors, and (c) the U.S. Trustee.


On December 29, 2022, I, John Mallon (the “Objector”), had delivered via personal courier to be filed

an objection to the Motion of Debtors for entry of orders (i)(a) Approving bid procedures, stalking

horse protections and the form and manner of notices for the sale of certain businesses, (b) Approving

assumption and assignment procedures and (c) Scheduling auction(s) and sale hearing(s) and (ii)(a)

Approving the sale(s) free and clear of liens, claims, interests and encumbrances and (b) Authorizing

assumption and assignment of executory contracts and unexpired leases, filed on December 15, 2022

(the “Motion”)1.




                                                                     /s/ John Mallon__________
                                                                     Heath Lodge Square,
                                                                     Belfast,
                                                                     United Kingdom BT13 3WG
                                                                     (914) 650-6782
                                                                     john@onbrinkcapital.com


                                                                     Pro se creditor


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Copy of objection
                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
    In re:                           )      Chapter 11
                                     )
    FTX Trading Ltd., et al.,        )      Case No. 22-11068 (JTD)
                                     )
             Debtors.                )      (Jointly Administered)



                OBJECTION TO MOTION OF DEBTORS FOR ENTRY OF ORDERS


I, John Mallon (the “Objector”), a customer and creditor of the Debtors, hereby respond and object to

the Motion of Debtors for entry of orders (i)(a) Approving bid procedures, stalking horse protections

and the form and manner of notices for the sale of certain businesses, (b) Approving assumption and

assignment procedures and (c) Scheduling auction(s) and sale hearing(s) and (ii)(a) Approving the

sale(s) free and clear of liens, claims, interests and encumbrances and (b) Authorizing assumption

and assignment of executory contracts and unexpired leases, filed on December 15, 2022 (the

“Motion”)2.

                                         1. Factual background


Objector was a customer of the Debtors prior to their filing for Chapter 11 reorganization protection

in this court on November 11, 2022 (the “Proceedings”). For most of Objector’s time as a customer

of the Debtors, their liability to Objector was in the form of a cash balance held on the FTX.com

international trading platform (the “Platform”). Prior to the Proceedings, Objector used their entire

cash balance to buy a product known as tokenized stocks (“Tokens”) on the Platform. The Debtors’

documentation for Tokens provided, inter alia, that Tokens are backed by the underlying shares upon

which the Token is issued (“Shares”), brokered by Swiss entity Canco GmbH (now known as FTX

Switzerland GmbH; debtor #53 in the Proceedings, “FTX Switzerland”) and custodied by FTX

Switzerland with an undisclosed third party. In order to be eligible to purchase Tokens, customers on

the Platform were required to complete an additional know-your-customer (“KYC”) application to



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become a customer of the broker of the Tokens and the Shares: FTX Switzerland, which is a 100%-

owned subsidiary of FTX Europe AG (debtor #41 in the Proceedings, “FTX Europe”), formerly

known as Digital Assets DA AG. It is FTX Europe, among other entities which are proposed to be

sold in the Motion. This objection concerns only the proposed sale of FTX Europe, including its

assets, and its subsidiaries and their assets (the “FTX Europe Business”).



                                          2. The Objection


This objection concerns the Debtors’ attempt in the Motion to seek approval for the sale of the FTX

Europe Business, free and clear of liens, claims, interests, and encumbrances, “which may involve a

sale of 100% of the interests in FTX Europe held by FTX Trading or sales of stock and/or assets of

FTX and/or its subsidiaries”3 (the “Sale”).


Objector submits that there may exist a customer and debtor/creditor relationship between FTX

Switzerland and customers of the Platform who submitted the enhanced KYC application to become

customers of FTX Switzerland, whose applications were approved by the Debtors, and who then went

on to purchase Tokens (“Token Customers”). Objector is part of an informal group of Token

Customers and submits there are many others in a similar position as Objector.


Confirmation on the Identity Verification/KYC section of Objector’s account on the Platform

(screenshot as of November 9, 2022):




Objector further submits that due to the representations made to customers by Debtors regarding

Tokens infra, Token Customers may have a secured claim over the Shares held by FTX Europe or

FTX Switzerland.




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    Page 6 of the Motion.
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Therefore, Objector respectfully requests that the proposed sale of the FTX Europe Business be

paused pending a review of the FTX Europe affairs and their assets, as well as a review of the

potential customer relationships/creditor claims, in order to avoid the assets backing

customers’/creditors’ claims being sold off free of the claims of those customers/creditors.




                                        3. The Documentation


The Debtors maintained informational documentation covering Tokens (“Documentation”)4, as part

of its helpdesk policies. To the best of Objector’s knowledge, this was the closest document provided

by Debtors resembling a terms of service or agreement regarding full Tokens. A copy of the version

which was current at the time the Proceedings were filed has been filed with this objection and is

available online via the link at footnote 3. It is submitted that in the Documentation, the Debtors made

certain representations about Tokens which are relevant to this objection.


1. Outlining breakdown of customer relationship, and that the brokerage is provided by FTX

Switzerland, not FTX Trading Ltd:




4
 https://web.archive.org/web/20221027042145/https:/help.ftx.com/hc/en-us/articles/360051229472-Tokenized-
Stocks.
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2. Outlining that applicants for this service become customers of FTX Switzerland:




3. Outlining that the tokens are backed by shares and custodied by FTX Switzerland, and that

tokens can be redeemed for the underlying shares:




4. Describing situations based on the rights (e.g. right to receive dividend, and right to vote)

which would suggest ownership of underlying shares by FTX Switzerland:
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Objector submits that due to the way in which the relationship between Token Customers and FTX

Switzerland was established and due to the representations made in the Documentation supra upon

which that relationship may have been entered into, there may be “liens, claims, interests and

encumbrances” on the FTX Europe Business.


Objector submits that Token Customers may be secured creditors of FTX Switzerland and/or FTX

Europe, because a transfer of money was made to the Debtors based on a representation by the

Debtors that there was an underlying security backing the Token for which the money was

transferred.


                                         4. Outcome Sought


Objector submits that any Shares or other assets held by FTX Switzerland or FTX Europe should be

made available to settle Token Customers’ claims prior to the Sale.


If the Shares are with a third party custodian per the Documentation, these Shares should be redeemed

by FTX Switzerland or FTX Europe to be made available to settle Token Customers’ claims prior to

the Sale, or arrangements should be made with Token Customers so that the proceeds of the liability
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owed to FTX Switzerland or FTX Europe by this custodian or other relevant third parties should be

made available to settle Token Customers’ claims.



                                                                   Respectfully submitted,


                                                                   /s/ John Mallon__________
                                                                   Heath Lodge Square,
                                                                   Belfast,
                                                                   United Kingdom BT13 3WG
                                                                   (914) 650-6782
                                                                   john@onbrinkcapital.com


                                                                   Pro se creditor
